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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION




UNITED STATES OF AMERICA


VS.                          CASE NO. 4:08CR00052-2 JMM


KENDRA SHAKEDA WILLIAMS


                                          ORDER

       The government’s Motion to Dismiss Without Prejudice is granted (#27). The February

6, 2008 Indictment as to defendant Kendra Shakeda Williams is dismissed without prejudice.

       IT IS SO ORDERED this 20       day of June, 2008.




                                                           James M. Moody
                                                           United States District Judge
